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Exhibit A

Proposed Order

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
Energy Future Holdings Corporation, et al., Case No. 14-10979 (CSS)
Debtors. Jointly Administered
Re: Docket Nos. 1083, 1097 &

ORDER GRANTING WILMINGTON SAVINGS FUND SOCIETY, FSB’S MOTION
PURSUANT TO LOCAL RULES 9006-1(c) AND 9006-1(e) FOR AN ORDER
SHORTENING THE TIME TO CONSIDER WILMINGTON SAVINGS FUND
SOCIETY FSB’S MOTION FOR ENTRY OF AN ORDER AUTHORIZING
WILMINGTON SAVINGS FUND SOCIETY, FSB TO FILE UNDER SEAL THE
JOINDER OF WILMINGTON SAVINGS FUND SOCIETY, FSB TO CERTAIN
OBJECTIONS TO (1) THE MOTION OF ENERGY FUTURE INTERMEDIATE
HOLDING COMPANY LLC AND EFTH FINANCE INC. FOR ENTRY OF AN ORDER
(A) APPROVING POSTPETITION SECOND LIEN FINANCING, (B) GRANTING
LIENS AND PROVIDING SUPERPRIORITY ADMINISTRATIVE EXPENSE CLAIMS,
(C) AUTHORIZING THE USE OF CASH COLLATERAL, (D) AUTHORIZING THE
EFIH SECOND LIEN REPAYMENT, (E) AUTHORIZING ENTRY INTO AND
PAYMENT OF FEES UNDER THE COMMITMENT LETTER, AND (F) MODIFYING
THE AUTOMATIC STAY AND (I) THE MOTION OF ENERGY FUTURE HOLDINGS
CORP., ET AL., FOR ENTRY OF ORDERS APPROVING CERTAIN EFIH
SETTLEMENTS AND THE ONCOR TSA AMENDMENT

Upon consideration of the motion (the “Motion to Shorten”)! of Wilmington Savings

Fund Society, FSB (““WSFS”) for entry of an Order providing that the applicable notice period
for the relief requested in WSFS’s Motion for Entry of an Order Authorizing WSFS to File
Under Seal Joinder to Certain Objections to (I) the Motion of Energy Future Intermediate
Holding Company LLC and EFIH Finance Inc. for Entry of an Order (A) Approving Postpetition
Second Lien Financing, (B) Granting Liens and Providing Superpriority Administrative Expense
Claims, (C) Authorizing the Use of Cash Collateral, (D) Authorizing the EFIH Second Lien

Repayment, (E) Authorizing Entry Into and Payment of Fees Under the Commitment Letter, and

' Capitalized terms not defined herein shall have the meanings given to them in the Motion to Shorten.

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(F) Modifying the Automatic Stay and (II) the Motion of Energy Future Holdings Corp., et al.,

for Entry of Orders Approving Certain EFIH Settlements and the Oncor TSA Amendment (the

“Motion to Seal”), be shortened pursuant to Rule 9006-1(e) of the Local Rules of Bankruptcy
Practice and Procedure of the United States Bankruptcy Court for. the District of Delaware (the

“Local Rules”) and section 105(a) of the United States Bankruptcy Code, 11 U.S.C. §§ 101 et

seq. (the “Bankruptcy Code”); and the Court having determined that granting the relief requested
in the Motion to Shorten is appropriate; and it appearing that due and adequate notice of the
Motion to Seal and the Motion to Shorten has been given, and after due deliberation and
sufficient cause appearing therefore, it is hereby,

ORDERED, that the Motion to Shorten is granted; and it is further,

ORDERED, that the Motion to Seal shall be heard on June 30, 2014 at 9:30 a.m.
(EDT), and that any objections to the relief requested in the Motion to Seal shall be heard at the
hearing on June 30, 2014; and it is further,

ORDERED, that this Court shall retain jurisdiction over any and all matters
arising from or related to the implementation of this Order.

Dated: June , 2014
Wilmington, DE

The Honorable Christopher S. Sontchi
United States Bankruptcy Judge

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